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                                          November 7, 2022

 BY E-FILE AND HAND DELIVERY

  The Honorable Jennifer L. Hall
  United States District Court of Delaware
  844 North King Street
  Wilmington, DE 19801

                Re:       Regeneron Pharmaceuticals, Inc. v. Amgen Inc.
                          C.A. No.: 22-00697-RGA-JLH

 Dear Judge Hall:

               I write on behalf of my client, Amgen Inc. (“Amgen”) to advise the Court of a
 procedural development relevant to the above-captioned case and, in particular, to Amgen’s
 pending Motion to Stay (D.I. 27).

                 On November 4, 2022, the Supreme Court of the United States granted Amgen’s
 petition for certiorari in the underlying patent case between Amgen and Regeneron involving the
 same medicines as the above-captioned antitrust action. Amgen Inc. v. Sanofi, 987 F.3d 1080
 (Fed. Cir. 2021), cert. granted in part, 2022 WL 16703751 (U.S. Nov. 4, 2022) (No. 21-757).
 The significance to Amgen’s pending Motion to Stay (D.I. 27) of the Supreme Court’s grant of
 certiorari is addressed in the parties’ briefing on the motion, which has been completed. (D.I. 28
 (Opening Brief in Support of Defendant Amgen Inc.’s Motion to Stay); D.I. 36 (Plaintiff
 Regeneron Pharmaceuticals, Inc.’s Memorandum of Law in Opposition to Defendant Amgen
 Inc.’s Motion to Stay); and D.I. 41 (Reply Brief of Defendant Amgen Inc. in Support of its
 Motion to Stay).) For that reason, and in the hope of avoiding burdening the Court with a letter-
 writing campaign, I do not attempt to summarize that which is briefed.

                 Both Amgen’s pending Motion to Stay (D.I. 27) and Amgen’s Motion to Dismiss
 (D.I. 17) are scheduled for oral argument on January 6, 2023 at 10:00 a.m.

               We stand ready, of course, to provide whatever additional information, if any, the
 Court would find helpful.




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                                              Respectfully,

                                              /s/ Melanie K. Sharp

                                              Melanie K. Sharp (No. 2501)

 MKS:mg

 cc:      All Counsel of Record (by e-mail)


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